Case 1:15-cr-00119-MAC-ZJH           Document 360       Filed 12/07/16    Page 1 of 2 PageID #:
                                            935




 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §          CASE NO. 1:15-CR-119 (10)
                                                 §
 CHRISTOPHER OOTEN                               §

           ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

          The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

 accept the Defendant’s guilty plea. He further recommended that the court adjudge the Defendant

 guilty on Count One of the Information filed against the Defendant.

          The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

 are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report.

          It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Christopher Ooten, is
Case 1:15-cr-00119-MAC-ZJH         Document 360       Filed 12/07/16     Page 2 of 2 PageID #:
                                          936




 adjudged guilty as to Count One of the Information charging a violation of 21 U.S.C. § 846 -

 Conspiracy. to Possess with Intent to Manufacture and Distribute (Cocaine Base).
           SIGNED at Beaumont, Texas, this 7th day of September, 2004.

           SIGNED at Plano, Texas, this 7th day of December, 2016.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE




                                               2
